Case 2:19-cv-00291-JRG-RSP Document 141 Filed 12/07/20 Page 1 of 2 PageID #: 3925




                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                  MARSHALL DIVISION



   ULTRAVISION TECHNOLOGIES, LLC,                §
                                                 §
                     Plaintiff,                  §
          v.                                     §
                                                 §
   HOLOPHANE EUROPE LIMITED,                                Case No. 2:19-cv-00291-JRG-RSP
                                                 §
   ACUITY BRANDS LIGHTING DE                                LEAD CASE
                                                 §
   MEXICOS DE RL DE CV, HOLOPHANE
                                                 §
   S.A. DE C.V. and ARIZONA (TIANJIN)
                                                 §
   ELECTRONICS PRODUCTS TRADE
                                                 §
   COMPANY, LTD.,
                                                 §
                    Defendants.                  §
                                   §
   YAHAM OPTOELECTRONICS CO., LTD, §                        Case No. 2:19-cv-00291-JRG-RSP
             Defendant.            §                        CONSOLIDATED CASE
                                   §

                                              ORDER

         Magistrate Judge Payne previously entered a Claim Construction Memorandum and Order

  (“Order”). (Dkt. No. 111.) Now, Defendants Holophane Europe Limited, Acuity Brands Lighting

  De Mexico S DE RL DE CV, Holophane S.A. De C.V., and Arizona (Tianjin) Electronics Products

  Trade Co., Ltd., and Yaham Optoelectronics Co., Ltd. (collectively, the “Defendants”) have filed

  Objections to the Order (Dkt. No. 117) and Amended Objections to the Order (Dkt. No. 120).

  Plaintiff Ultravision Technologies, LLC (“Plaintiff”) filed a Response to Defendants’ Objections.

  (Dkt. No. 121.)

         The Court has reviewed the Order, the Objections to the Order, the Amended Objections

  to the Order, and Plaintiff’s Response to Defendants’ Objections. After reviewing this material,

  the Court agrees with the reasoning provided within the Claim Construction Order and concludes

  that the objections raised by the parties are without merit. Consequently, the Court ADOPTS
Case 2:19-cv-00291-JRG-RSP Document 141 Filed 12/07/20 Page 2 of 2 PageID #: 3926




  Magistrate Judge Payne’s Claim Construction Order and OVERRULES the Objections raised by

  Defendants. (Dkt. Nos. 117, 120.)

        So ORDERED and SIGNED this 7th day of December, 2020.




                                                     ____________________________________
                                                     RODNEY GILSTRAP
                                                     UNITED STATES DISTRICT JUDGE




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